              IN        THE UNITED STATES DISTRICT  COURT FOR THE
                            WESTERN DTSTRICT OF MISSOURI
                                   CEMTRAL DTVISION

UNITED STATES OF AMERICA,

                         Plaintiff,
       v.                                                                No.     10-3007-M,JW-01

KEVTN RAY HUNTER,

                         Defendant.

                         MOTION AI\TDORDER To SEAL AFFIDAVIT

       coMEs Now the                united        states       of        America,          by and through         Beth
Phi11ips,    united             states        Attorney              for        the        western      District       of
Missouri,   and hereby moves the Court                               to seal         the Affidavit          attached
to the complaint            filed       on February                 3,    2oto,       ?s to        the Defendant.

                                                      Respectfully                   submitted,

                                                      Beth Phillips
                                                      United States                   Attorney             '''/



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                                                      Lawrence E. Miller
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                                                      Assistant United States                          Attorney
                                                      Missouri Bar No. 39531


      upon motion              of    the     united        states           of       America,        and   for    good

cause shown,       it     is        hereby    ORDEREDthat                   the      Affidavit         attached       to
the   Complaint         filed,        as     to     the    Defendant                 in    the     above   entitled
case, be sealed.




Dared
    , 6b?                      3, zo/0               United              States       Magistrate        Judge




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